Case 19-12971-JKS        Doc 34    Filed 05/22/19 Entered 05/22/19 10:53:00           Desc Main
                                   Document     Page 1 of 1


                      NOTICE TO U.S. TRUSTEE OF CHANGE OF
                          NO-ASSET CHAPTER 7 CASE TO
                             ASSET CHAPTER 7 CASE


        The following No-Asset Chapter 7 case should be designated as an Asset Chapter 7
Case:

        Case Name:                           In re: James Polite and Cindy Rookard
        Case No.:                            19-12971 (JKS)
        Amount of Funds on Hand:             $0.00

       If there are no funds on hand, but assets that will produce funds for this estate, indicate
actual or estimate value of assets:

                                             Actual Value: Undetermined

                                             Estimated Value: Undetermined

        Other information relating to status of case:



                                              /s/Eric R. Perkins
                                             ERIC R. PERKINS


Dated: May 22, 2019
